      Case 2:22-cv-01108-SVW-MRW Document 48 Filed 05/13/22 Page 1 of 1 Page ID #:288
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATIORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATIORNEY(S) FOi<    Defendant Nick Carter
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
BILL MEREWHUADER, et al.                                                       CASE NUMlJER:

                                                                                                 2:22-cv-01108-SVW-MRW
                                                              Plaintlff(s),
                                     v.
SAFEMOON, LLC, et al.
                                                                                               CERTIFICATION AND NOTICE
                                                                                                 OF INTERESTED PARTIES
                                                             Defendant(s)                             (Local Rnle 7.1-1)


TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                Defendant Nick Carter
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                    CONNECTION I INTEREST
Nick Carter                                                                   Defendant




         May 13, 2022                                      Isl Michael D. Holtz
          Date                                             Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Defendant Nick Carter


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
